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|N THE UNlTED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN DlV|SION

 

UN|TED STATES OF ANIER|CA

 

P|aintiff

VS.
CR. NO. 05-20156-D

JOHN MURRAY, JR.

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on N|ay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursdag{l Ju|y 21l 2005l at 9:00 a.m., in Courtroom 3. 9th Floor of the
Federal Building, l\/lemphis, TN.

 

The period from lVlay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

lT ls so oRDERED this §/ day of May, 2005.

    
 

NlCE B. DONALD
N|TED STATES DlSTR|CT JUDGE

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UNITED sTATE DISTRIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20156 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

